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                      IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF TEXAS

                                 GALVESTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §   CRIMINAL NO. G-99-10 (09)
                                             §   CIVIL ACTION NO. G-05-321
JAMES HENDERSON, JR.                         §

                                   FINAL JUDGMENT

       Pursuant to this Court’ s Opinion and Order of even date herewith, the “ Motion Under

28 U. S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody”

(Instrument no. 691) of James Henderson, Jr., is DISMISSED for lack of jurisdiction.

       THIS IS A FINAL JUDGMENT.

       DONE at Galveston, Texas, this 15th day of June, 2005.
